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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT


                                                        )          Case No. 18-345
TERENCE GATT,                                           )
                                                        )
                Plaintiff,                              )
                                                        )
v.                                                      )          COMPLAINT
                                                        )
HARTFORD HEALTHCARE CORP.,                              )
INTEGRA TED CARE PARTNERS LLC, and                      )
BERNICE LEE, Individually,                              )
                                                        )          Plaintiff Demands a Trial
         Defendants.             )                                 by Jury
________________________________ )


        Plaintiff, TERENCE GATT ("Mr. Gatt or "Plaintiff'), by and through his attorneys,

LEVINE & BLIT, PLLC, as and for his complaint against HARTFORD HEALTHCARE CORP.

("HHC"), INTEGRATED CARE PARTNERS, LLC ("ICP"), and BERNICE LEE, individually,

("Ms. Lee") (collectively, "Defendants"), alleges upon information and belief:


                                PRELIMINARY STATEMENT

        1.     This action is brought to remedy the following: (1) disability discrimination in

violation ofthe Americans with Disabilities Act of 1990 ("ADA"), 42 U.S.C. § 12101 et seq.; (2)

unlawful retaliation in violation of the ADA; (3) failure to reasonably accommodate plaintiffs

recorded disability in violation of the ADA; (4) disability discrimination in violation of the

Connecticut Fair Employment Practices Act ("CFEPA"), Conn. Gen. Stat. § 46a-60 et seq.; (5)

unlawful retaliation in violation of the CFEPA and (6) failure to reasonably accommodate

plaintiffs recorded disability in violation of the CFEP A, along with any other causes of action

that may be inferred from the facts set forth herein.



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        2.      Defendants' actions were unlawful and plaintiff brings this action for injunctive

relief, actual damages for lost wages and benefits, compensatory damages, liquidated damages,

punitive damages, reasonable attorney's fees and costs of this action, as well as any such further

relief this Court deems just and proper.



                                  JURISDICTIONAL PREREQUISITES

        3.       On or about April 7, 2017, plaintiff filed a timely complaint ("EEOC

Complaint") against defendant, claiming unlawful discriminatory practices relating to

discrimination based upon disability and unlawful retaliation,_with the United States Equal

Employment Opportunity Division ('EEOC").

        4.      On or about November 30, 2017 the EEOC issued a Notice of Right to Sue.

        5.      This complaint was timely filed within ninety (90) days of plaintiff's receipt of

the Notice of the Right to Sue.


                                  JURISDICTION AND VENUE

        6.      This court has original jurisdiction over this action under 42 USCA Section

2000e-5(f) and under 28 USCA § 1331.


        7.      Supplemental jurisdiction over Plaintiff's state law claims is proper under 28

U.S.C. §1367.


        8.      Venue in this Court is proper pursuant to 28 USCA § 13 91 (b) because a

substantial part of the events giving rise to this claim occurred in this judicial district.




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                                         THE PARTIES

       9.      Plaintiff, Terence Gatt, is a qualified individual with a disability and is opposed to

discriminatory practices. Mr. Gatt currently resides in the State of New York.

       10.     Defendant, Hartford HealthCare Corporation, is a private corporation providing

health care services, duly organized and existing under the laws ofthe State of Connecticut.

HHC maintains its principal place of business at One State Street, Suite 19, Hartford,

Connecticut 061 03.

       11.     Integrated Care Partners, LLC is a private limited liability company providing

health care services, duly organized and existing under the laws of the State of Connecticut. ICP

maintains its principal place of business at Hartford HealthCare Corporation, One State Street,

Suite 19, Hartford Connecticut 06103. Upon information and belief, ICP maintains offices at

1290 Silas Deane Highway, 2nd Floor, Wethersfield, Connecticut 06109. Upon information and

belief, ICP is a HCP partner and/or affiliate such that ICP and HCP are a joint and/or single

integrated employer.

       12.     At all times relevant to this complaint, Mr. Gatt was an employee ofHHC, within

the meaning of applicable federal, state, and local statutes, and was entitled to protection under

the ADA, CFEP A, and all other applicable state and local laws.

       13.     At all times relevant to this complaint, HHC maintained employment

relationships with fifteen (15) or more individuals and is an employer within the meaning ofthe

ADA, CFEP A, and all other applicable state and local laws.

       14.     At all times relevant to this complaint, Mr. Gatt served as Senior Population

Health Analyst at Defendant.




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         15.    At all times relevant to this complaint, Ms. Lee served in the capacity of Director,

Health Economics, at HCP and maintained a direct managerial and/or supervisory position over

Mr. Gatt in his employment with authority to undertake or recommend tangible employment

decisions and/or control the terms and conditions of Mr. Gatt's employment at Defendant.

        16.    At all times relevant to this complaint, Mr. Gatt maintained the requisite

credentials, experience, skills, qualifications and/or ability to perform the essential functions of

his employment position at Defendant, with or without reasonable accommodation.

        17.    At all times relevant to this complaint, Mr. Gatt suffers from an "impairment"

within the meaning of the ADA, suffers from a "physical disability" within the meaning of the

CFEPA, and had been medically diagnosed with Stiff Persons Syndrome ("SPS").

        18.    At all times relevant to this complaint, Defendant had knowledge of the Plaintiffs

disability.

                                  FACTUAL ALLEGATIONS

        19.    On or about June 7, 2016, Mr. Gatt commenced his employment at ICP as a

Population Health Analyst.

        20.    Until Mr. Gatt was terminated on or about October 19, 2016, Mr. Gatt was

discriminated against based upon his recorded disability, which included but was not limited to

being continually denied reasonable disability accommodations as Defendant failed to engage in

an interactive process.

        21.    Mr. Gatt has a physician-created disability record, and Mr. Gatt repeatedly

communicated this record to Defendant prior to and during his employment at ICP.

        22.    Whereas Mr. Gatt was hired as a Population Health Analyst and worked

approximately forty (40) hours per week, in or about August 2016, Defendant moved Mr. Gatt's



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department under a new division supervised by Ms. Lee. As a result and without increasing his

salary, Mr. Gatt's title became Senior Population Health Analyst, his job description was

amended to add significant duties that, inter alia, required him to supervise approximately four

(4) individuals without experience, which increased the number of hours worked to between

approximately sixty (60) and eighty (80) hours per week. Also, during the course of the move,

another employee in Mr. Gatt's department quit, and Ms. Lee never filled that vacant position.

        23.    On or about September 12, 2016, Mr. Gatt suffered from tremors and a seizure at

work, and as a result he hit his head on his desk. Ms. Lee sent Mr. Gatt home, and she allowed

him to temporarily work remotely.

        24.    On or about September 18, 2016, still in severe pain and believing that it would

be unsafe for him to drive to work, Mr. Gatt made a written disability accommodation request to

Ms. Lee that he be permitted to continue to work remotely. In response, Ms. Lee merely asked

Mr. Gatt whether he had called Occupational Health, which did not know how to handle Mr.

Gatt's reasonable accommodation request when he did make such a request.

       25.     On or about September 27, 2016, Mr. Gatt's physician issued to him an order

prohibiting him from driving. Mr. Gatt subsequently communicated this no-drive order to Ms.

Lee; however, Ms. Lee pressured Mr. Gatt to drive to work to attend meetings.

       26.     On or about October 6, 2016, Mr. Gatt's physician recommended that he take a

leave of absence from work to treat his disability.

       27.     On or about October 7, 2016, because Occupational Heath had been unable to

assist Mr. Gatt, Mr. Gatt contacted Human Resources to make a reasonable disability

accommodation request; however, Human Resources, like Occupational Health, did not know

how to handle Mr. Gatt's request.



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       28.     On or about October 13, 2016, because Occupational Health had not yet resolved

his reasonable disability accommodation request, even after he submitted his physician's orders,

Mr. Gatt contacted Ms. Lee who in tum contacted Human Resources to inquire about Mr. Gatt's

requests with Occupational Health, but Ms. Lee did not receive a response.

       29.     On or about October 13, 2016, because Occupational Health had not yet resolved

his reasonable disability accommodation request, even after he submitted his physician's orders,

Mr. Gatt contacted Ms. Lee who in tum contacted Human Resources to inquire about Mr. Gatt's

requests with Occupational Health, but Ms. Lee did not receive a response.

       30.     On or about October 17, 2016, having not received a response from Human

Resources or Occupational Health, Mr. Gatt again contacted Ms. Lee concerning his continued

inability to reach Human Resources or Occupational Health regarding his reasonable disability

accommodation requests. Ms. Lee then again contacted Human Resources to inquire about Mr.

Gatt's requests with Occupational Health.

       31.    On or about October 18, 2016, Human Resources again merely advised Mr. Gatt

to contact Occupational Health regarding his reasonable disability accommodation requests, and

Human Resources provided Mr. Gatt with a hyperlink to make a leave of absence request. On

the same day, Mr. Gatt requested a leave of absence using the hyperlink.

       32.     On or about October 19, 2016, Ms. Lee terminated Mr. Gatt.

       33.    Pursuant to the ADA and the CFEP A, an employer is required to provide

reasonable accommodations to qualified employees with disabilities, unless doing so would pose

an undue hardship.




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        34.     Here, as evidenced above, HHC consistently summarily denied Mr. Gatt's

reasonable accommodation requests without engaging in an interactive process or demonstrating

that his requests would pose an undue hardship to the company.

        35.     Pursuant to the ADA and the CFEPA, it is unlawful for an employer to take

adverse employment actions against an employee based on that employee's disability or

engagement in a protected activity.

        36.     Here, only one day after requesting a leave of absence to treat his disability, HHC

terminated Mr. Gatt because he requested such reasonable accommodations.



                FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS
                    (Discrimination based upon Disability under the ADA)

        37.     Plaintiff hereby repeats and realleges each allegation contained in the paragraphs

hereunder as if set forth fully herein.

        38.     At all times relevant to this action, defendants were "employers" within the

meaning the ADA, and the plaintiff was an employee entitled to the protection in his

employment based upon his disabilities.

        39.     Pursuant to the acts and practices of the defendants as alleged above, the plaintiff

was subjected to unlawful discrimination in the terms and conditions ofhis employment because

ofhis disability.

       40.      As a proximate result of the Defendant's unlawful acts and practices as alleged

above, Plaintiffhas suffered and will continue to suffer substantial losses, including loss of past

and future earnings, bonuses, deferred compensation, and other employment benefits.

       41.     As a further proximate result of Defendant's unlawful acts and practices as

alleged above, Plaintiff has suffered and continues to suffer compensatory damages for mental


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anguish, severe and lasting embarrassment, humiliation, emotional distress, and other incidental

and consequential damages and expenses

        42.     The defendants acted outrageously and with malice and reckless indifference to

the plaintiffs protected civil rights under the ADA and plaintiff is entitled to an award of

punitive damages.



               SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
                         (Retaliation in Violation of the ADA)

        43.     Plaintiff hereby repeats and realleges each allegation contained in the paragraphs

hereunder as if set forth fully herein.

        44.     At all times relevant to this action, defendants were "employers" within the

meaning the ADA, and the plaintiff was an employee entitled to the protection in his

employment based upon his disabilities.

        45.     Pursuant to the acts and practices of the defendants as alleged above, Mr. Gatt

was retaliated against by defendants when his employment was terminated with HHC because he

made several requests for reasonable accommodations and requested a leave of absence.

       46.     Mr. Gatt engaged in a protected activity when he requested reasonable

accommodations from defendants and pursued his rights under the ADA.

       47.     Pursuant to the acts and practices ofthe defendants as alleged above, Mr. Gatt

was retaliated against by defendants when his employment was terminated with HHC because of

his repeated requests to be accommodated.

       48.     Defendants knew or should have known of the unlawful acts and practices as

alleged above and of Plaintiffs complaints/requests regarding the same, yet failed to act

promptly to prevent or end the harassment.


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        49.      Instead of taking steps to endure a discrimination-free workplace, Defendants

condoned, participated in, and reinforced, the unlawful acts and practices as alleged above and

retaliated against Mr. Gatt by terminating Plaintiffs employment in retaliation for his protected

requests.

        50.      As a proximate result of the Defendant's unlawful acts and practices as alleged above,

Plaintiff has suffered and will continue to suffer substantial losses, including loss of past and future

earnings, bonuses, deferred compensation, and other employment benefits.

        51.      As a further proximate result of Defendant's unlawful acts and practices as alleged

above, Plaintiff has suffered and continues to suffer compensatory damages for mental anguish, severe

and lasting embarrassment, humiliation, emotional distress, and other incidental and consequential

damages and expenses.




                THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS
        (Failure to reasonably accommodate plaintiffs disability in violation of the ADA)


        52.      Plaintiff hereby repeats and realleges each allegation contained in the paragraphs

hereunder as if set forth fully herein.

        53.     At all times relevant to this action, defendants were "employers" within the

meaning of the ADA, and the plaintiff was an employee entitled to the protection in his

employment based upon his disabilities.

        54.     Defendants consistently denied numerous reasonable disability accommodation

requests made by Mr. Gatt without engaging in an interactive process or demonstrating that his

requests would pose an undue hardship to the company.

        55.     Pursuant to the acts and practices of the defendants as alleged above, the

Defendants failed to provide reasonable accommodations for Mr. Gatt's recorded disability

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violating the ADA. As a proximate result of the Defendant's unlawful acts and practices as

alleged above, Plaintiffhas suffered and will continue to suffer substantial losses, including loss

of past and future earnings, bonuses, deferred compensation, and other employment benefits

        .56.    As a further proximate result of Defendant's unlawful acts and practices as

alleged above, Plaintiff has suffered and continues to suffer compensatory damages for mental

anguish, severe and lasting embarrassment, humiliation, emotional distress, and other incidental

and consequential damages and expenses




               FOURTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
                   (Discrimination based upon Disability under the CFEP A)

        57.     Plaintiff hereby repeats and realleges each allegation contained in the paragraphs

hereunder as if set forth fully herein.

        58.     At all times relevant to this action, defendants were "employers" within the

meaning the CFEP A, and the plaintiff was an employee entitled to the protection in his

employment based upon his disabilities.

       59.      Pursuant to the acts and practices of the defendants as alleged above, the plaintiff

was subjected to unlawful discrimination in the terms and conditions ofhis employment because

ofhis disability.

       60.     As a proximate result of the Defendant's unlawful acts and practices as alleged

above, Plaintiff has suffered and will continue to suffer substantial losses, including loss of past

and future earnings, bonuses, deferred compensation, and other employment benefits.

       61.     As a further proximate result of Defendant's unlawful acts and practices as

alleged above, Plaintiff has suffered and continues to suffer compensatory damages for mental


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anguish, severe and lasting embarrassment, humiliation, emotional distress, and other incidental

and consequential damages and expenses.



                FIFTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
                         (Retaliation in Violation of the CFEP A)

        62.     Plaintiff hereby repeats and realleges each allegation contained in the paragraphs

hereunder as if set forth fully herein.

        63.     At all times relevant to this action, defendants were "employers" within the

meaning the CFEP A, and the plaintiff was an employee entitled to the protection in his

employment based upon his disabilities.

       64.      Pursuant to the acts and practices of the defendants as alleged above, Mr. Gatt

was retaliated against by defendants when his employment was terminated with HHC because he

made several requests for reasonable accommodations and requested a leave of absence.

       65.     Mr. Gatt engaged in a protected activity when he repeatedly requested reasonable

accommodations for his disability despite being continually denied same.

       66.     Pursuant to the acts and practices of the defendants as alleged above, Mr. Gatt

was retaliated against by defendants when his employment was terminated with HHC because he

requested a leave of absence.

       67.     Defendants knew or should have known of the unlawful acts and practices as

alleged above and of Plaintiffs complaints/requests regarding the same, yet failed to act

promptly to prevent or end the harassment.

       68.     Instead of taking steps to endure a discrimination-free workplace, Defendants

condoned, participated in, and reinforced, the unlawful acts and practices as alleged above and




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retaliated against Mr. Gatt by terminating Plaintiff's employment in retaliation for his protected

requests.

        69.     As a proximate result of the defendants' unlawful acts and practices as alleged

above, Plaintiffhas suffered and will continue to suffer substantial losses, including loss of past

and future earnings, bonuses, deferred compensation, and other employment benefits.

        70.     As a further proximate result of Defendant's unlawful acts and practices as alleged

above, Plaintiff has suffered and continues to suffer compensatory damages for mental anguish, severe

and lasting embarrassment, humiliation, emotional distress, and other incidental and consequential

damages and expenses




                SIXTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
       (Failure to reasonably accommodate plaintiff's disability in violation ofthe CFEPA)


        71.     Plaintiff hereby repeats and realleges each allegation contained in the paragraphs

hereunder as if set forth fully herein.

        72.     At all times relevant to this action, defendants were "employers" within the

meaning of the CFEP A, and the plaintiff was an employee entitled to the protection in his

employment based upon his disabilities.

       73.      Defendants consistently denied numerous reasonable disability accommodation

requests made by Mr. Gatt without engaging in an interactive process or demonstrating that his

requests would pose an undue hardship to the company.

       74.     Pursuant to the acts and practices ofthe defendants as alleged above, the

Defendants failed to provide reasonable accommodations for Mr. Gatt's recorded disability

violating the CFEP A.




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          75.    As a proximate result ofthe Defendant's unlawful acts and practices as alleged

above, Plaintiff has suffered and will continue to suffer substantial losses, including loss of past

and future earnings, bonuses, deferred compensation, and other employment benefits.

          76.    As a further proximate result of Defendant's unlawful acts and practices as

alleged above, Plaintiff has suffered and continues to suffer compensatory damages for mental

anguish, severe and lasting embarrassment, humiliation, emotional distress, and other incidental

and consequential damages and expenses


                                     PRAYER FOR RELIEF

          WHEREFORE, plaintiff respectfully requests that this Court enter a judgment

containing the following relief:

          (a)    An order enjoining defendants from engaging in the wrongful practices alleged

herein;

          (b)   An award of plaintiffs actual damages in an amount to be determined at trial for

lost wages, benefits, and promotional opportunities, including an award of front pay

compensating plaintiff for loss of future salary and benefits;

          (c)   An award of damages in an amount to be determined at trial to compensate

plaintiff for mental anguish, emotional distress, humiliation, and embarrassment;

          (d)   An award of liquidated damages;

          (e)   An award of punitive damages;

          (f)   The costs of this action including the costs of reasonable attorney's fees;

          (g)   An award of prejudgment interest to the fullest extent allowed under the law; and

          (h)   Such other and further relief this Court deems just and proper.




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                              DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38(b) ofthe Federal Rules ofCivil Procedure, Plaintiff demands a trial

by jury in this action.

Dated: February 27, 2018
       Syracuse, New York




                                                    /isb- - -
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